                    UNITED STATES BANKRUPTCY COURT
                    MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Rolland T Cheesman, III
     Deiatra D Cheesman

                                                            Case No.: 5-21-01181 MJC

                                                            Chapter 13
                      Debtor(s)

                             NOTICE OF FINAL CURE PAYMENT

 According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
 cure the pre-petition and post-petition default in the claim below has been paid in full and the
 debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  Quicken
 Court Claim Number:             02
 Last Four of Loan Number:       0945
 Property Address if applicable: 156 Melrose Dr

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.      Allowed prepetition arrearages:                                      $2,327.88
 b.      Prepetition arrearages paid by the trustee:                          $2,327.88
 c.      Amount of postpetition fees, expenses, and charges                   $0.00
         recoverable under Bankruptcy Rule 3002.1(c):
 d.      Amount of postpetition fees, expenses, and charges                   $0.00
         recoverable under Bankruptcy Rule 3002.1(c) and
         paid by the trustee:
 e.       Allowed postpetition arrearage:                                     $0.00
 f.       Postpetition arrearage paid by the trustee:                         $0.00
 g.       Total b, d, and f:                                                  $2,327.88

 PART 3: POSTPETITION MORTGAGE PAYMENT
 Mortgage is/was paid directly by the debtor(s).
PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve o01945n the debtor(s),
 their counsel, and the trustee, within 21 days after service of this notice, a statement indicating
 whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
 default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
 and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
 current on all postpetition payments as of the date of the response. Failure to file and serve
 the statement may subject creditor to further action of the court, including possible sanctions.




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To assist in reconciling the claim, a history of payments made by the trustee is attached to
copies of this notice sent to the debtor(s) and the creditor.


Dated: May 22, 2025
                                                   Respectfully submitted,


                                                   /s/ Jack N. Zaharopoulos
                                                   Standing Chapter 13 Trustee
                                                   Suite A, 8125 Adams Drive
                                                   Hummelstown, PA 17036
                                                   Phone: (717) 566-6097
                                                   Fax: (717) 566-8313
                                                   email: info@pamd13trustee.com




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


Re: Rolland T Cheesman, III
    Deiatra D Cheesman

                                                           Case No.: 5-21-01181 MJC

                                                           Chapter 13
                    Debtor(s)

                                 CERTIFICATE OF SERVICE

I certify that I am more than 18 years of age and that on May 22, 2025 I served a copy of this
Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown,
PA, unless served electronically.

 Served Electronically
 Vincent Rubino, Esquire
 712 Monroe St
 PO Box 511
 Stroudsburg PA 18360-0511


 Served by First Class Mail
 Quicken Loans, Inc
 635 Woodward Ave
 Detroit MI 48226

 Rolland T Cheesman, III
 Deiatra D Cheesman
 156 Melrose Dr
 Scotrun PA 18355


  I certify under penalty of perjury that the foregoing is true and correct.


  Date: May 22, 2025                                    /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




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                                                Disbursements for Claim
Case: 21-01181            ROLLAND T. CHEESMAN, III
         QUICKEN LOANS INC
                                                                                    Sequence: 24
         635 WOODWARD AVENUE
                                                                                       Modify:
                                                                                   Filed Date:
         DETROIT, MI 48226-
                                                                                   Hold Code:
 Acct No: Melrose Drive - PRE-ARREARS - 0945
         ARREARS - 156 MELROSE DRIVE


                                                  Debt:         $2,327.88       Interest Paid:              $0.00
        Amt Sched:                $189,477.00                                     Accrued Int:               $0.00
         Amt Due:         $0.00                    Paid:        $2,327.88        Balance Due:                $0.00

Claim name                               Type      Date         Check #      Principal    Interest       Total Reconciled
                                                                                               DisbDescrp
 5200        QUICKEN LOANS INC
520-0 QUICKEN LOANS INC                          02/19/2025      2045089       $31.87       $0.00      $31.87 03/06/2025


520-0 QUICKEN LOANS INC                          01/15/2025      2044137      $165.60       $0.00     $165.60 01/29/2025


520-0 QUICKEN LOANS INC                          12/17/2024      2043193      $165.60       $0.00     $165.60 12/31/2024


520-0 QUICKEN LOANS INC                          11/19/2024      2042255      $165.60       $0.00     $165.60 12/03/2024


520-0 QUICKEN LOANS INC                          10/23/2024      2041289      $165.60       $0.00     $165.60 11/06/2024


520-0 QUICKEN LOANS INC                          09/17/2024      2040298      $165.60       $0.00     $165.60 09/26/2024


520-0 QUICKEN LOANS INC                          08/07/2024      2039272      $165.60       $0.00     $165.60 08/15/2024


520-0 QUICKEN LOANS INC                          07/10/2024      2038385      $165.60       $0.00     $165.60 07/22/2024


520-0 QUICKEN LOANS INC                          06/18/2024      2037565      $165.60       $0.00     $165.60 07/01/2024


520-0 QUICKEN LOANS INC                          05/22/2024      2036665      $165.60       $0.00     $165.60 06/03/2024


520-0 QUICKEN LOANS INC                          04/17/2024      2035659      $165.60       $0.00     $165.60 04/30/2024


520-0 QUICKEN LOANS INC                          03/14/2024      2034694      $165.60       $0.00     $165.60 03/27/2024


520-0 QUICKEN LOANS INC                          02/14/2024      2033731      $165.60       $0.00     $165.60 02/28/2024


520-0 QUICKEN LOANS INC                          01/12/2024      2032799      $165.60       $0.00     $165.60 01/22/2024



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Claim name                       Type     Date           Check #      Principal   Interest       Total Reconciled
                                                                                       DisbDescrp
520-0 QUICKEN LOANS INC                 12/19/2023       2031912       $143.21      $0.00      $143.21 01/10/2024


                                                      Sub-totals: $2,327.88        $0.00   $2,327.88

                                                     Grand Total: $2,327.88        $0.00




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